Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 1 of 11




                                                           PLAINTIFF'S
                                                                          exhibitsticker.com




                                                             EXHIBIT

                                                                2
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 2 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 3 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 4 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 5 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 6 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 7 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 8 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 9 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 10 of 11
Case 4:18-cv-00161 Document 36-2 Filed in TXSD on 04/18/18 Page 11 of 11
